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 8                      UNITED STATES DISTRICT COURT
 9                    CENTRAL DISTRICT OF CALIFORNIA
10                              EASTERN DIVISION
11   NEMESIO TORRES,                       ) Case No.: 5:21-cv-00867-JDE
12                                         )
                 Plaintiff,                )
13        vs.                              ) JUDGMENT OF REMAND
14                                         )
     KILOLO KIJAKAZI, Acting               )
15
     Commissioner of Social Security,      )
16                                         )
17
                 Defendant.                )

18
           The Court having approved the parties’ Stipulation to Voluntary
19
     Remand (Dkt. 20, “Stipulation to Remand”) and entered an Order of Remand,
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           IT IS HEREBY ORDERED, ADJUDGED AND DECREED that the
21
     above-captioned action is remanded to the Commissioner of Social Security
22
     for further proceedings consistent with the Stipulation to Remand.
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24
25   DATED: December 03, 2021
                                         JOHN D. EARLY
26
                                         United States Magistrate Judge
27
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